
Richmond, P. J.
The plaintiff in error, Ireland, was by the grand jury of the eighth judicial district charged by indictment with the crime of grand larceny. The cause came on for trial and resulted in a verdict of guilty. Motion to set aside the verdict and for a new trial was duly interposed but the court denied the motion and gave judgment upon the verdict.
Numerous errors are assigned but we deem it unnecessary to consider any of them save and except the second, which is to the effect that the verdict of the jury is not supported by the evidence in this case.
We have carefully reviewed all of the testimony, and reached the conclusion that the verdict was unwarranted by the evidence and that the court erred in refusing to set aside the verdict and grant a new trial. In view of the fact that ■the attorney general, who represents the people in this case, has filed in this court a statement to the effect that he will file no briefs or argument in the cause and does not urge an affirmance of the judgment rendered, it would be superfluous for us to extend the opinion by reference to the testimony submitted at the trial.
The judgment must be reversed and the cause remanded.

Reversed.

